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                   Case 1:21-cr-00083-TNM Document 60-1 Filed 12/01/21 Page 12 of 30




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                   Case 1:21-cr-00083-TNM Document 60-1 Filed 12/01/21 Page 16 of 30




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                  Case 1:21-cr-00083-TNM Document 60-1 Filed 12/01/21 Page 20 of 30




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